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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-006 (TJK)
v.
: VIOLATIONS:
DOUGLAS AUSTIN JENSEN, : 18 U.S.C. § 231(a)(3)
: (Civil Disorder)
Defendant. : 18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)

: (Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, DOUGLAS AUSTIN
JENSEN, committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, that is, Officer E.G., an officer from the United States Capitol Police, lawfully

engaged in the lawful performance of his official duties, incident to and during the commission of
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a civil disorder which in any way and degree obstructed, delayed, and adversely affected commerce
and the movement of any article and commodity in commerce and the conduct and performance
of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, DOUGLAS
AUSTIN JENSEN, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, DOUGLAS AUSTIN
JENSEN, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer
and employee of the United States, and of any branch of the United States Government (including
any member of the uniformed services), that is, E.G. an officer from the United States Capitol
Police Department, while such person was engaged in and on account of the performance of
official duties, and where the acts in violation of this section involve the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 11 1(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, DOUGLAS AUSTIN

JENSEN, did unlawfully and knowingly enter and remain in a restricted building and grounds,

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that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol
and its grounds, where the Vice President was temporarily visiting, without lawful authority to do
so, and, during and in relation to the offense, did use and carry a deadly and dangerous weapon,

that is, a knife.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and
(b)(1)(A))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, DOUGLAS AUSTIN
JENSEN, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a knife.
(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections
1752(a)(2) and (b)(1)(A))
COUNT SIX
On or about January 6, 2021, within the District of Columbia, DOUGLAS AUSTIN

JENSEN, willfully and knowingly engaged in disorderly and disruptive conduct in any of the

Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
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of Congress and either House of Congress, and the orderly conduct in that building of a hearing
before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia DOUGLAS AUSTIN
JENSEN, willfully and knowingly paraded, demonstrated, and picketed in any United States
Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
